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 5
 6   Advisory Counsel for Defendant
     MICHAEL JOHN AVENATTI
 7
 8
                              UNITED STATES DISTRICT COURT
 9
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                    SA CR No. 19-061-JVS
12               Plaintiff,                       DEFENDANT’S EX PARTE
                                                  APPLICATION FOR AN ORDER THAT
13                      v.                        DEFENDANT BE HOUSED AT THE
                                                  SANTA ANA JAIL
14   MICHAEL JOHN AVENATTI,
15               Defendant.
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           Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”), by and through his
18
     advisory counsel of record, H. Dean Steward, hereby files this Ex Parte Application for
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     an Order that defendant Michael J. Avenatti be housed at the Santa Ana Jail.
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21    Dated: February 7, 2022                 Respectfully submitted,
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                                             /s/ Michael John Avenatti
23                                            MICHAEL JOHN AVENATTI
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 1                   DECLARATION OF MICHAEL J. AVENATTI
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 3   I, Michael J. Avenatti, declare:
 4         1.     I am the defendant in this case and appearing pro se. I make this
 5   declaration in support of the Defendant’s Application for an Order that I be housed
 6   at the Santa Ana Jail.
 7         2.     As this Court is likely aware, I have been Ordered to surrender to the
 8   U.S. Marshal Service in the Central District of California by 5:00 p.m. PST today.
 9   (Case No. 19-CR-00374-JMF, Dkt. 372). I will be surrendering today by 5:00 p.m.
10   in Santa Ana, California.
11         3.     For the reasons set forth herein, I respectfully request that the Court
12   order that I be housed at the Santa Ana City Jail in Santa Ana, California.
13         4.     First, because of the current appeal in the Ninth Circuit and the need
14   to prepare for the likely upcoming trials, I need to have regular access to my
15   advisory counsel, paralegals and my appellate counsel. This cannot occur at the
16   MDC in Los Angeles due to the current Covid-19 protocols and the fact that the
17   MDC is significantly more difficult for my counsel to travel to. The two attorneys
18   working on this case both reside and work out of Orange County, California. I
19   need to be close to them so that I can communicate with them regarding my case
20   and resolve any issues that come up. Particularly because I am representing myself,
21   my access to the defense team is crucial so that I can stay up to date with
22   developments and provide insight and direction for work performed on my behalf.
23         5.     Second, I also need to be close to my advisory counsel and other
24   members of the defense team so that I may continue to review the vast amount of
25   discovery in this case and prepare for the potential retrial and the trial on the
26   remaining counts. Housing me at the MDC will make this process practically
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 1   impossible and substantially interfere with my ability to mount a defense in this
 2   case.
 3           6.    Third, my work with the PRT in order to access the Tabs data,
 4   through Software Technology, LLC, remains ongoing. I need to continue to work
 5   with my defense team and forensic expert to coordinate the segregation of the Tabs
 6   data, review the data, and use it for my defense. If I am placed at MDC, with its
 7   severely limited legal calls and access, I will not be able to adequately prepare my
 8   defense.
 9           7.    Fourth, my appeal before the Ninth Circuit remains ongoing. Oral
10   argument is currently scheduled to take place on March 10, 2022. I need to be
11   close to my defense counsel so that I can assist in preparing for the oral argument.
12           8.    Finally, I request that I be housed in the Santa Ana Jail so that it is
13   easier for my transfer to and from court appearances at the Ronald Reagan Federal
14   Courthouse in Santa Ana, California. Should I be housed in the Los Angeles
15   facility, it will be far more inconvenient for all involved, including the Court and
16   the U.S. Marshalls.
17           9.    I was previously housed in Santa Ana in January 2020 without
18   incident.
19           10.   On February 7, 2022, advisory counsel contacted the government
20   requesting their position on the instant request. AUSA Sagel responded: “The
21   government takes no position as we do not believe this is a matter for Judge Selna
22   as defendant is surrendering on an order from Judge Furman.” The government’s
23   position is not correct because defendant is properly seeking relief before this
24   Court relating to issues affecting this case and his appeal in connection with this
25   matter. Judge Furman’s Order is silent as to where defendant is to be housed - it
26   merely ordered defendant to surrender in the Central District. This Court retains
27   power over the defendant and his custody through this case, and therefore has
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 1   jurisdiction to direct that defendant be housed at Santa Ana Jail for the reasons
 2   contained herein.
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 4         I declare under penalty of perjury under the laws of the United States of
 5   America that the foregoing is true and correct.
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      Dated: February 7, 2022
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 8                                            /s/ Michael John Avenatti
                                            MICHAEL JOHN AVENATTI
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 1
                               CERTIFICATE OF SERVICE

 2         I, H. Dean Steward, am a citizen of the United States, and am at least 18 years
 3
     of age. My business address is 17 Corporate Plaza, Suite 254, Newport Beach,
 4
 5   California 92660. I am not a party to the above-entitled action. I have caused, on

 6   February 7, 2022, service of the:
 7
          DEFENDANT’S EX PARTE APPLICATION FOR AN ORDER THAT
 8            DEFENDANT BE HOUSED AT THE SANTA ANA JAIL
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     on the following party, using the Court’s ECF system:
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11   AUSA RANEE KATZENSTEIN and AUSA BRETT SAGEL

12   I declare under penalty of perjury that the foregoing is true and correct.
13
     Executed on February 7, 2022
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15                                           /s/ H. Dean Steward
16                                           H. Dean Steward
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